Case 2:05-CV-02095-.]DB-STA Document 16 Filed 06/06/05 Page 1 of 2 Page|D 30

IN THE UNITED s'rArEs DlsTRIC'r CoURT Fn£n er %' D-C-
FoR THE WEsTERN DISTRICT oF TENNEssEE

WESTERN DIVIsroN 85 Jllt& -6 PM 5= 03
WILLrAM RAY rNGRAM, meant a ns races
CLEHi-t;, U`S. C»IST. CT.
W.D. GF TE‘\J, t\-AEMPHFS
Plaintiff,
"' No. 05-2095-B/An

CITICROP CREDIT SERVICES, INC. (USA)
d/b/a GOODYEAR CREDIT PLAN and
BRYANT TIRE & APPLIANCE CENTER,
INC. d/b/a GOODYEAR,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Defendant Citibank USA, National Association’s Motion to Stay
Proceedings in Favor of Arbitration filed on June 2, 2005. This matter is hereby referred to the
United States Magistrate Judge for determination and/or report and recommendationl Any
objections to the magistrate judge’s order and/or report and recommendation shall be made
within ten (10) days after service of the order and/or report, setting forth particularly those
portions of the order and/ or report objected to and the reasons for the objections Failure to
timely assign as error a defect in the magistrate judge’s order and/or report will constitute a
waiver of that objection § Rule 72(a), Federal Rules of Civil Procedure.

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IT IS SO ORDERED this day of June, 2005.

M

J. DANIEL BREEN \
d§rJ“ED sTATEs DIsTRICT JUDGE

 

This document entered on the docket sheet in compliance

Wim ante 58 and/or maj FHCP on §'Q - 12 “O 5 /Q

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 16 in
case 2:05-CV-02095 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

